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                                     In The United States Bankruptcy Court
                                           Southern District Of Texas
                                               Houston Division


  In Re: Richard M. Malfer                                              Chapter 13 Case Number:
         Laura H. Malfer                                                13-33355-H5-13
         16610 Bobcat Trail
         Cypress, Tx 77429
  Debtor(s)

                       CHAPTER 13 TRUSTEE'S NOTICE OF PLAN COMPLETION

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        THE CHAPTER 13 TRUSTEE ("Trustee"), represents that each of the debtor(s) have attended a
meeting of creditors, submitted to an examination under oath and have made all payments to the Chapter 13
Trustee as required by the Order Confirming the Chapter 13 Plan.

       The Trustee's Final Report and Account will be submitted when all payments to creditors on behalf of
the debtor(s) have cleared the account and accounting is completed. The Trustee requests the case remain
open pending the filing of the Trustee's Final Report and Account.

                                                                    Respectfully Submitted,

                                                                     /s/ William E. Heitkamp_______
                                                                    William E. Heitkamp, Trustee
                                                                    Admissions ID No. 3857
                                                                    9821 Katy Freeway, Suite 590
                                                                    Houston, Texas 77024

                                       CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was sent to all parties listed on the
matrix on file with the U.S. Bankruptcy Clerk's Office on or about the time this document was filed with the
Clerk on Friday, July 27, 2018. A copy of the Certificate of Mailing of this document is on file and may be
viewed at the U.S. Bankruptcy Clerk's Office.

                                                                    __William E. Heitkamp_______
                                                                    William E. Heitkamp, Trustee
